                Case 21-10034-KKS          Doc 49        Filed 09/10/21   Page 1 of 3




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION

In re:                                                        CASE NO: 21-10034-KKS
                                                              CHAPTER 7
SHERI LYNN THOMPSON fka Sheri Lynn
Kinker,

      Debtor(s).
________________________________________/

                       FREEDOM MORTGAGE CORPORATION'S
                      RESPONSE TO TRUSTEE'S MOTION TO SELL

         Freedom Mortgage Corporation, its successors and/or assigns ("Secured Creditor"), by and

through its undersigned counsel, responds in conditional consent to the Trustee's Motion to Approve

Short Sale [ECF NO. 42] (“Motion to Sell”) filed on August 19, 2021 and states as follows:

         1.     On February 26, 2021, the Debtor ("Debtor" as used herein shall include both Debtors

in a joint case), filed a voluntary petition pursuant to Chapter 7 of the Bankruptcy Code.

         2.     Secured Creditor holds a security interest in the Debtor's real property located at 4845

SW 53RD ROAD, Ocala, FL 34474 (the “Property”), which is legally described as:

       Lot 146, MEADOWS AT HEATH BROOK PHASE 1, according to the Plat
thereof as recorded in Plat Book 10, Pages 177 through 180, inclusive, of the Public
Records of Marion County, Florida.

         3.     Further, and more specifically, Secured Creditor holds an interest in the Property

by virtue of that certain mortgage, executed by the Debtor and properly recorded on April 8,

2016, in the Official Records of Marion County, Florida at Book 6371, Pages 1593-1604.

         4.     In the Motion to Sell, the Trustee is requesting to pursue short sale of property.

         5.     Secured Creditor does not necessarily oppose the granting of the Motion to Sell,

but respectfully requests that: (a)any order provide that secured creditor will be paid in full

subject to a proper payoff; (b) the Trustee’s sale of the Property be explicitly conditioned on



B&S File No.: 21-F00935                         1 of 3
               Case 21-10034-KKS          Doc 49       Filed 09/10/21   Page 2 of 3




obtaining Secured Creditor’s written consent to the “Short Sale” at or prior to closing; and (c)

that all proceeds from the sale (if consented to by Secured Creditor), less realtor fees and typical

and customary closing costs, shall attach to Secured Creditor’s lien at the time of the sale and

shall not become property of the Debtor’s bankruptcy estate nor be subject to distribution by the

trustee; and (d) the closing and receipt of funds should be within 90 days from the date of the

Order.

         6.     Absent the aforementioned conditions, Secured Creditor does not consent to the

sale of the Property for an amount that is less than the entire amount of its lien. Secured Creditor

avers that, pursuant to § 363(f), the Trustee may not conduct a “Short Sale” of the Subject

Property without Secured Creditor’s express consent.

         WHEREFORE, Secured Creditor respectfully requests that this Honorable Court grant the

Motion to Sell under the aforementioned conditions and restrictions or, in the alternative, deny the

Debtor’s Motion.

                                              BROCK & SCOTT, PLLC
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                                              /s/ Patrick Hruby
                                              ______________________________________
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                                              Florida Bar No. 0088657




B&S File No.: 21-F00935                       2 of 3
               Case 21-10034-KKS        Doc 49       Filed 09/10/21   Page 3 of 3




        I CERTIFY that a true copy hereof has been served electronically or via U.S. mail, first-
class postage prepaid, to:

               SHERI LYNN THOMPSON
               16153 NE 50TH ST
               WILLISTON, FL 32696-6472

               Theresa M. Bender
               P.O. Box 14557
               Tallahassee, FL 32317

               United States Trustee
               110 E. Park Avenue
               Suite 128
               Tallahassee, FL 32301

       this 10th day of September, 2021.


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                                            Attorney for Secured Creditor
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                                            /s/ Patrick Hruby
                                            ______________________________________
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B&S File No.: 21-F00935                     3 of 3
